Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 1 of 8 PageID #: 13904
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 2 of 8 PageID #: 13905




                                                           TABLE OF CONTENTS

I. DEFENDANTS HAVE NOT JUSTIFIED THE DISCLOSURE OF PROTECTED
MATERIALS IN THE LITHUANIAN PROCEEDING .......................................................... 1
      A. Defendants Should Not Be Permitted To Relitigate Its Claims Of Patent Non-Infringement
                                                              ....................................................... 1
      B. Disclosure of Dr. Almeroth’s Opinion Necessarily Reveals Underlying Information Even
         If that Information Is Not Disclosed..................................................................................... 2
      C. Luminati Would Be Harmed By Filing Of The Flawed Almeroth Report In The Lithuanian
         Proceeding ............................................................................................................................ 3
      D. Permitting Disclosure of Other Protected Materials Does Not Undo The Harm Disclosed
         By Relitigating The Patent Infringement Issue Before The Lithuanian Court..................... 3
II.        CONCLUSION ................................................................................................................... 4




                                                                         i
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 3 of 8 PageID #: 13906




           Defendants should not be permitted to improperly use confidential material from this

settled lawsuit to re-litigate their patent non-infringement

            —in the Lithuanian Proceeding. They should particularly not be permitted to present a

one-sided story to do so by selectively seeking to de-designate only materials helpful to

Defendants.



              Dr. Almeroth represented that his opinions and conclusions were based on Luminati

protected material, and Defendants cannot avoid violating the Protective Order by summarizing

rather than quoting from this material.

I.         DEFENDANTS HAVE NOT JUSTIFIED THE DISCLOSURE OF PROTECTED
           MATERIALS IN THE LITHUANIAN PROCEEDING

     A. Defendants Should Not Be Permitted To Relitigate Its Claims Of Patent Non-Infringement
                                                             .




       .

           Yet,

            , Defendants’ motion is made specifically to relitigate the same issue in the Lithuanian

Proceeding. They plan to do this by disclosing their expert’s opinions and conclusions based on

the protected material he had access to. Reply at 1.



                                                           See e.g. ECF 378 at 3; ECF 368. There

                                                  1
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 4 of 8 PageID #: 13907




is no question that this narrative is false. ECF 324 at 3:13-5:16. It is completely improper to ask

the Lithuanian Court to rule on the merits regarding U.S. patent non-infringement claims which

were already dismissed by this Court. The Lithuanian Court does not have the expertise in U.S.

patent law possessed by this Court nor the record from this case on which to issue such a ruling.

Furthermore, the Lithuanian Court there will not have access to all the materials that were

submitted in this case.

                                                                                   ECF 368-2 at ¶

10. Defendants should not be permitted to

                                         .

   B. Disclosure of Dr. Almeroth’s Opinion Necessarily Reveals Underlying Information Even
      If that Information Is Not Disclosed

       It is not necessary for an expert to expressly quote from confidential documents in order to

disclose confidential information. Reply at 2. Defendants admit that Dr. Almeroth discloses his

“conclusions and opinions” of non-infringement and that his opinion cited Luminati Protected

Material, including but not limited to Luminati’s infringement contentions.           Reply at 2.

Defendants assert that such opinions are not protected because Almeroth does not quote from the

Protected Material, but this is wrong.

       By presenting an opinion or conclusion based in his reliance on such documents, an expert

reveals confidential information, the disclosure of which would be a violation of the Protective

Order. ECF at 39 at ¶ 7 (“Any such copies, duplicates, extracts, summaries or descriptions shall

be classified DESIGNATED MATERIALS and subject to all of the terms and conditions of this

Order” (emphasis added)). For example, an expert report can disclose an opinion that a company

is bankrupt without disclosing the specific underlying confidential financial information.

Obviously, the disclosure of such an opinion can cause harm to the subject party even if the


                                                2
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 5 of 8 PageID #: 13908




underlying confidential financial information is not disclosed. This is particularly true where the

opinion is disclosed in a forum that lacks the context and experience to accurately evaluate the

information.

       Similarly, Dr. Almeroth’s opinion and conclusions of non-infringement based on Luminati

protected materials would also violate the Protective Order. The Report should not be permitted

to be used in the Lithuanian Proceeding.

   C. Luminati Would Be Harmed By Filing Of The Flawed Almeroth Report In The Lithuanian
      Proceeding

       Luminati would be harmed by the disclosure of the Almeroth Report in the Lithuanian

Proceeding. It is irrelevant that Defendants plan on filing the Almeroth Report under seal. Under

the Protective Order, “Protected Material designated as DESIGNATED MATERIAL, shall be

used by the Parties only in the litigation of this Action or in a Related Proceeding to the extent

authorized by the PTAB, and shall not be used for any other purpose.” ECF 39 at ¶ 7. Misusing

the Protected Material in the Lithuanian Proceeding violates the Protective Order and causes harm

to Luminati that the Protective Order is intended to prevent.




         . Defendants’ intended use of the flawed Almeroth Report to support this false narrative

would create specific prejudice and associated harm to Luminati in this foreign proceeding.

   D. Permitting Disclosure of Other Protected Materials Does Not Undo The Harm Disclosed
      By Relitigating The Patent Infringement Issue Before The Lithuanian Court

       Defendants concede that their one-sided submission to the Lithuanian Court would be

prejudicial, agreeing to allow disclosure of other contrary evidence showing that the Almeroth

                                                3
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 6 of 8 PageID #: 13909




Report is flawed. Reply at 4.




                                      .

       Were the Almeroth Report permitted to be filed in the Lithuanian Proceeding, this contrary

evidence should also be filed.



                                 .



II.    CONCLUSION

       For the reasons provided above, Defendants Motion should be denied. However, in the

alternative, if Defendants are permitted to disclose the Almeroth Report in the Lithuanian

Proceeding, then Luminati respectfully requests that the Court authorize the disclosure of other

Protected Material in the Lithuanian Proceeding including unredacted versions of (a) Defendant’s

interrogatory responses, (b) Dr. Almeroth’s deposition testimony, (c) the Motion to Strike the

Testimony of Dr. Almeroth (ECF 212), and (d) the Rhyne Report.



Dated: September 21, 2020                   Respectfully submitted,

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                                               4
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 7 of 8 PageID #: 13910




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                                CERTIFICATE OF SERVICE
        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served this 21st day of September 2020, with a copy of this document via
electronic mail.


                                             /s/ Korula T. Cherian




                                                5
Case 2:18-cv-00299-JRG Document 389 Filed 09/23/20 Page 8 of 8 PageID #: 13911




             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document is being filed under seal pursuant to the

Protective Order entered in this matter.




                                             /s/ Korula T. Cherian




                                                6
